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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7   VIRGINIA M LAMBRIX, et al.,                   Case No. 23-cv-01145-TLT
                                                      Plaintiffs,
                                   8
                                                                                     ORDER CONSOLIDATING ACTIONS
                                              v.
                                   9

                                  10   TESLA, INC.,
                                                      Defendant.
                                  11

                                  12   ROBERT ORENDAIN,                             Case No. 23-cv-01157-TLT
Northern District of California
 United States District Court




                                                Plaintiff,
                                  13
                                             v.
                                  14

                                  15   TESLA, INC.,
                                                 Defendant.
                                  16
                                                                                    Case No. 23-cv-01496-TLT
                                  17   SEAN BOSE,
                                                      Plaintiff,
                                  18
                                              v.
                                  19

                                  20   TESLA, INC.,
                                                   Defendant.
                                  21

                                  22   PATRICK DOYLE,                               Case No. 23-cv-01543-TLT
                                                      Plaintiff,
                                  23
                                              v.
                                  24

                                  25   TESLA, INC.,
                                                   Defendant.
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                                           Case 3:23-cv-01145-TLT Document 60 Filed 06/23/23 Page 2 of 4




                                   1     PHILOMENA FOCHWANG NANA-                             Case No. 23-cv-02035-TLT
                                         ANYANGWE,
                                   2                     Plaintiff,
                                   3              v.
                                   4
                                         TESLA, INC.,
                                   5                 Defendant.
                                   6
                                                                                              Case No. 23-cv-02352-TLT
                                         ANDREW RAGONE,
                                   7
                                                         Plaintiff,
                                   8
                                                  v.
                                   9
                                         TESLA, INC.,
                                  10
                                                     Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          The Court has issued orders relating the six above-captioned cases (collectively, the

                                  14   “Related Actions”). See ECF Nos. 21, 35, 41, and 45. On June 9, 2023, the Court issued an order

                                  15   to show cause why the Related Actions should not be consolidated. ECF No. 54. The Court

                                  16   further directed the parties to file either a joint stipulation regarding consolidation or a response to

                                  17   the order to show cause, not to exceed five pages, by June 23, 2023, explaining why the cases

                                  18   should not be consolidated. Id.

                                  19          On June 15, 2023, the Court held an initial case management conference in the Related

                                  20   Actions. See ECF No. 56. At the initial case management conference, all the parties stated that

                                  21   they either agreed to consolidate the Related Actions or that they did not oppose consolidation. As

                                  22   such, the Court ordered that Plaintiffs file a “Consolidated Amended Complaint…within 30 days

                                  23   from” the initial case management conference. Id.; see also ECF No. 59 (“Consolidated Amended

                                  24   Complaint due by 7/17/2023.”).

                                  25          A court has inherent power “to control the disposition of the causes on its docket with

                                  26   economy of time and effort for itself, for counsel, and for litigants.” Landis v. N. Am. Co., 299

                                  27   U.S. 248, 254-255 (1936); Ferdik v. Bonzelet, 963 F.2d 1258, 1260 (9th Cir. 1992) (“District

                                  28   courts have the inherent power to control their dockets….”). Federal Rule of Civil Procedure
                                                                                          2
                                           Case 3:23-cv-01145-TLT Document 60 Filed 06/23/23 Page 3 of 4




                                   1   42(a) provides: “If actions before the court involve a common question of law or fact, the court

                                   2   may: (1) join for hearing or trial any or all matters at issue in the actions; (2) consolidate the

                                   3   actions; or (3) issue any other orders to avoid unnecessary cost or delay.” Fed. R. Civ. P. 42(a).

                                   4          District courts have “broad discretion under [Rule 42(a)] to consolidate cases pending in

                                   5   the same district.” Invs. Rsch. Co. v. U.S. Dist. Ct. for Cent. Dist. of Cal., 877 F.2d 777, 777 (9th

                                   6   Cir. 1989). In deciding whether to consolidate, a court should balance the interest of judicial

                                   7   convenience against “any inconvenience, delay, or expense that it would cause.” Huene v. United

                                   8   States, 743 F.2d 703, 704 (9th Cir. 1984).

                                   9          As the Court previously discussed in its order to show cause, Plaintiffs in the Related

                                  10   Actions bring claims against Defendant Tesla, Inc., under the Sherman Act, 15 U.S.C. § 2 for

                                  11   alleged (1) Monopolization of the Tesla Repair Services Market, (2) Attempted Monopolization of

                                  12   the Tesla Repair Services Market, and (3) Attempted Monopolization of the Tesla-Compatible
Northern District of California
 United States District Court




                                  13   Parts Market. In addition, Plaintiffs in the Orendain, Doyle, Nana-Anyangwe, and Ragone actions

                                  14   bring an additional claim under the Sherman Act, 15 U.S.C. § 2 for alleged Attempted

                                  15   Monopolization of the Tesla-Compatible Parts Market. Finally, Plaintiffs in every case except

                                  16   Doyle also bring claims under the Sherman Act, 15 U.S.C. § 1 for alleged Unlawful Tying and the

                                  17   Magnuson-Moss Warranty Act, 15 U.S.C. § 2302 for alleged Prohibited Warranty Tying. Thus,

                                  18   the Court finds that there are common questions of law or fact with respect to the Related Actions.

                                  19          Because all parties either agree to consolidate the Related Actions or do not oppose

                                  20   consolidation, and given the common questions of law or fact with respect to the Related Actions,

                                  21   the Court hereby ORDERS consolidation of the following five actions pursuant to Fed. R. Civ. P.

                                  22   42(a): Lambrix v. Tesla, Inc., Case No. 3:23-cv-01145-TLT; Bose v. Tesla, Inc., Case No. 3:23-cv-

                                  23   01496-TLT; Doyle v. Tesla, Inc, Case No. 3:23-cv-01543-TLT; Nana-Anyangwe v. Tesla, Inc.,

                                  24   Case No. 3:23-cv-02035-TLT; and Ragone v. Tesla, Inc., Case No. 3:23-cv-02352-TLT.

                                  25   Accordingly, all further filings shall be filed in the lead case Lambrix v. Tesla, Inc., Case No.

                                  26   3:23-cv-01145-TLT. See Civ. L.R. 3-4(b) (“When filing papers in cases consolidated pursuant to

                                  27   Fed. R. Civ. P. 42, the caption of each paper must denote the lead case number above all

                                  28   consolidated case numbers. Duplicate originals, however, are not required for associated cases.”);
                                                                                           3
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                                   1   see also Hall v. Hall, 138 S. Ct. 1118, 1125 (2018) (holding that consolidation does not

                                   2   “completely merg[e] the constituent cases into one,” but instead “enables more efficient case

                                   3   management while preserving the distinct identities of the cases and the rights of the separate

                                   4   parties in them”).

                                   5          Finally, one key difference between the Related Actions is that there was a pending motion

                                   6   to compel arbitration in Orendain v. Tesla, Inc., Case No. 3:23-cv-01157-TLT. Moreover, the

                                   7   plaintiff in that case has voluntarily dismissed his individual claims, pursuant to Federal Rules of

                                   8   Civil Procedure Rule 41(a)(1)(A)(i). Accordingly, the Court does not consolidate that action.

                                   9          IT IS SO ORDERED.

                                  10   Dated: June 23, 2023

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                                  12
Northern District of California
 United States District Court




                                                                                                    TRINA L. THOMPSON
                                  13                                                                United States District Judge
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